CM/ECF-GA Northern District Court                                  https://gand-ecf.sso.dcn/cgi-bin/DktRpt.pl?243214580654594-L_1_0-1
                          Case 5:21-mj-00003-CHW Document 1 Filed 01/07/21 Page 1 of 3

                                    Query    Reports   Utilities      Help      What's New     Log Out



                                                                                                                 CLOSED

                                            U.S. District Court
                                   Northern District of Georgia (Atlanta)
                            CRIMINAL DOCKET FOR CASE #: 1:13-cr-00397-SCJ-1


         Case title: USA v. Mullins                                    Date Filed: 09/30/2013
         Other court case number: 3:05-cr-00332 USDC, Eastern District Date Terminated: 09/30/2013
                                   of VA (Richmond)


         Assigned to: Judge Steve C. Jones

         Defendant (1)
         Sylvester Fred Mullins                         represented by Sylvester Fred Mullins
         TERMINATED: 09/30/2013                                        GDC 1006836
         also known as                                                 Wilcox State Prison
         "V"                                                           P.O. Box 397
         TERMINATED: 09/30/2013                                        Abbeville, GA 31001-0397
                                                                       PRO SE

         Pending Counts                                                      Disposition
                                                                             CBOP for 71 months on each of Counts 1
         18:1951 - INTERFERENCE WITH                                         and 2, to be served concurrently.
         COMMERCE BY THREAT OR                                               Supervised Release for 3 years on each of
         VIOLENCE                                                            Counts 1 and 2, to run concurrently. $100
         (1)                                                                 Special Assessment on each count.
                                                                             Restitution in the amount of $37,122.00.

         Highest Offense Level (Opening)
         Felony

         Terminated Counts                                                   Disposition
         None

         Highest Offense Level (Terminated)
         None

         Complaints                                                          Disposition
         None



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                          Case 5:21-mj-00003-CHW Document 1 Filed 01/07/21 Page 2 of 3

                                     Query     Reports      Utilities      Help    What's New       Log Out
         Plaintiff
         USA                                                  represented by Yonette Sam-Buchanan
                                                                             Office of the United States Attorney-
                                                                             ATL600
                                                                             Northern District of Georgia
                                                                             600 United States Courthouse
                                                                             75 Ted Turner Dr., S.W.
                                                                             Atlanta, GA 30303
                                                                             404-581-6095
                                                                             Fax: 404-581-6181
                                                                             Email: Yonette.Buchanan@usdoj.gov
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED
                                                                             Designation: Retained


         Date Filed       # Docket Text
         09/30/2013       1 TRANSFER OF JURISDICTION for Supervision of Releasee Sylvester Fred Mullins.
                            Received copies of indictment, judgment and docket sheet from USDC, Eastern District
                            of Virginia (Richmond). Case number in other district: 3:08-cr-00332 (Attachments: # 1
                            Probation Letter, # 2 Indictment, # 3 Judgment and Commitment, # 4 Docket Sheet, # 5
                            Letter) (ryc) (Entered: 10/02/2013)
         01/08/2014       2 Petition and Order to Modify Conditions of Supervised Release with Consent of the
                            Offender as to Sylvester Fred Mullins signed by Judge Steve C Jones on 1/3/14. (aaq)
                            (Entered: 01/09/2014)
         10/08/2014           Document 3 is sealed. (aaq) (Entered: 10/09/2014)
         01/12/2017           Document 4 is sealed. (dfb) (Entered: 01/12/2017)
         07/24/2018       5 MOTION/Request to Rescind the Probation by Sylvester Fred Mullins. (Attachments: #
                            1 Attachments) (rjs) (Entered: 07/24/2018)
         09/13/2018           Submission of 5 MOTION/Request to Rescind the Probation as to Sylvester Fred
                              Mullins, to District Judge Steve C. Jones. (jkl) (Entered: 09/13/2018)
         04/23/2019       6 ORDER as to Sylvester Fred Mullins re 5 MOTION for early termination of supervised
                            release. The United States is ORDERED to file its response to Defendant's motion, after
                            consultation with the Supervising United States Probation Officer, within fourteen (14)
                            days of the entry of this Order. The Clerk is directed to submit this matter to the
                            undersigned at that time. Signed by Judge Steve C. Jones on 4/23/2019. (rjs) (Entered:
                            04/24/2019)
         04/24/2019           Attorney update in case as to Sylvester Fred Mullins. Attorney Yonette Sam-Buchanan
                              for USA added. (rjs) (Entered: 04/24/2019)
         04/24/2019           Clerk's Certificate of Mailing as to Sylvester Fred Mullins re 6 Order. (rjs) (Entered:
                              04/24/2019)
         06/12/2019           Submission of 6 Order as to Sylvester Fred Mullins, to District Judge Steve C. Jones.
                              (jkl) (Entered: 06/12/2019)



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CM/ECF-GA Northern District Court                                       https://gand-ecf.sso.dcn/cgi-bin/DktRpt.pl?243214580654594-L_1_0-1
                          Case 5:21-mj-00003-CHW Document 1 Filed 01/07/21 Page 3 of 3

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                              (                    )
         03/23/2020       8 ORDER: Defendant's 5 motion is DENIED as the Defendant was not sentenced to
                            probation. He was sentenced to supervised release, which the Court declines to alter after
                            consideration of the record and applicable law (inclusive of the 18 U.S.C. § 3553(a)
                            factors). Signed by Judge Steve C. Jones on 3/23/2020. (rjs) (Entered: 03/23/2020)
         03/23/2020           Clerk's Certificate of Mailing as to Sylvester Fred Mullins re 8 Order. (rjs) (Entered:
                              03/23/2020)
         03/23/2020           Document 9 is sealed. (ddm) (Entered: 03/23/2020)




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